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                                                     March 7, 2023




      VIA ECF W/ COURTESY COPY VIA FIRST CLASS MAIL

     Hon. Taryn A. Merkl
     United States Magistrate Judge
     United States District Court for the
      Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11201

     Hon. Nicholas G. Garaufis
     United States District Judge

                          Re:      United States ex rel. YNKDY-2 v. Shiel Medical Laboratory, et al.
                                   Civil Action No. 16-CV-1090-NGG-TAM

     Dear Magistrate Judge Merkl:

             This firm is co-counsel for Defendant Jack Basch (“Basch”), a named defendant in the
     above-referenced matter. We write jointly on behalf of defendants Basch, Shiel Medical
     Laboratory (“Shiel”) and BIM Medical, Inc. (“BIM”, and together with Basch and Shiel,
     collectively the “Basch/Shiel Defendants”) in response to Your Honor’s Order of February 22,
     2023 (“February 22, 2023 Order”), directing the parties to file a joint status report by March 8,
     2023 “advising the Court of anticipated next steps in light of the parties failure to schedule a pre
     motion conference before the Hon. Nicholas G. Garaufis and Plaintiffs failure to resubmit their
     summonses.” This submission is made only on behalf of the Basch/Shiel Defendants1 because, as
     is set forth in greater detail below, Relator’s counsel did not respond to the Basch/Shiel
     Defendants’ counsel’s requests to coordinate a joint response on behalf of all parties.

             By way of background, this matter was filed under seal in March 2016 pursuant to the qui
     tam provisions of the federal False Claims Act, 31 U.S.C. § 3729 et seq. (the “FCA”) and certain
     state-based FCA analogues and other laws alleging, inter alia, that Defendants knowingly
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       Though defendants Fresenius Medical Care and Shiel Holdings, LLC appear to have been served in this matter, see
     Civil Docket for Case No. 1:16-cv-01090-NGG-TAM (“Docket”), Entry Nos. 36 and 37, neither one has appeared
     yet, and counsel for the Basch/Shiel Defendants do not know who (if anyone) will be representing those defendants
     in this matter.
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 submitted claims for reimbursement for laboratory tests that were not reasonable or necessary or
 that were furnished pursuant to improper referrals and kickbacks. See Docket, Entry No. 9. On
 June 14, 2022, the United States of America and the States of New York, New Jersey, and
 Connecticut each respectively filed notices of intent to decline intervention pursuant to 31 U.S.C.
 § 3730(b)(4)(B), after which this Court unsealed the pleadings and directed relator to effect service
 upon defendants if it intended to proceed with this matter absent government intervention. See
 Docket, Entry Nos. 24-28. Relator thereafter signaled its intention to maintain the instant action
 on its own pursuant to 31 U.S.C. § 3730(b)(1) by effecting service on multiple defendants in this
 action, including but not limited to Mr. Basch.

        On October 20, 2022, defendants Basch, BIM Medical, Inc., and Shiel Medical Laboratory
 submitted pre-motion conference requests pursuant to Judge Garaufis’ Individual Rule V(A)(2)(a)
 to address these Basch/Shiel Defendants’ contemplated motions to dismiss Relator’s Second
 Amended Complaint (“SAC”) pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2), 12(b)(6), 10(a), 8,
 and 9(b), and to request that the Court extend their time to respond to Relator’s SAC to a date to
 be determined at the conference. Docket, Entry Nos. 52 and 54. The next day, October 22, 2022,
 Judge Garaufis issued an Order directing the parties to confer and contact the Court’s deputy to
 schedule a pre-motion conference. In response, on October 27, 2022, the undersigned contacted
 Relator’s counsel via email regarding scheduling, and over the following weeks, the parties
 engaged in back and forth regarding scheduling. The last communication between the parties
 regarding scheduling was on December 21, 2023, where, in response to Relator’s counsel’s
 request, counsel for co-defendants Shiel and BIM proposed January 4 and 5 for a meet and confer.
 Relator’s counsel did not respond to that proposal. Around the same time, counsel for Mr. Basch
 requested that Relator’s counsel include defendants Fresenius Medical Care and Shiel Holdings,
 LLC, in the communications. Relator’s counsel did not reply.

         On March 1, 2023 (following issuance of the Court’s February 22, 2023 Order), we emailed
 Relator’s counsel to suggest times (March 2nd and March 3rd) to meet and confer to coordinate a
 joint submission. Relator’s counsel did not respond to those requests, but did, on March 3rd –
 more than four months after our request for a pre-motion conference – write to Judge Garaufis to
 request an unrelated pre-motion conference regarding a proposal to add new defendants. It is only
 because of Relator’s counsel’s non-responsiveness that the Basch/Shiel Defendants are
 constrained to file this submission solely on their behalf and not jointly as the Court directed.2 At
 5:18 pm yesterday, one of Relator’s counsel emailed asking that we “be advised” that they are
 available this afternoon.

         The Basch/Shiel Defendants remain intent on moving to dismiss Relator’s SAC, and
 respectfully renew their requests that the Court schedule a pre-motion conference to discuss their

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   At 5:18 pm yesterday, one of Relator’s counsel emailed stating that the Basch/Shiel Defendants should “be
 advised” that they would be available this afternoon or evening without further specification. The e-mail did not
 copy or explain the absence of defendants Fresenius Medical Care or Shiel Holdings, LLC. We do not regard this
 last-minute communication as a serious attempt to schedule a pre-motion conference or engage in a meet and confer.
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 contemplated motions to dismiss Relator’s SAC pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2),
 12(b)(6), 10(a), 8, and 9(b), and that the Court continue to extend the Basch/Shiel Defendants’
 time to respond to the SAC to a date to be determined at the conference. The Basch/Shiel
 Defendants are prepared to move forward with a pre-motion conference regarding their proposed
 motion to dismiss on any of the following dates: March 21, 23, 24, 28, or April 20, 21 or 24.

        We thank the Court for its consideration.

                                             Respectfully,



                                             Claude M. Millman

 Cc:    Counsel of record by ECF
